                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                              3:15-CR-00302-RJC-DSC
 USA,                                             )
                                                  )
                 Plaintiff,                       )
                                                  )
     v.                                           )           ORDER
                                                  )
 JARRETT TERRELL EDWARDS (2),                     )
                                                  )
                 Defendant.                       )
                                                  )

          THIS MATTER is before the Court upon the Government’s Motion to Dismiss, (Doc.

No. 120), the Superseding Indictment, (Doc. No. 36: Indictment; Doc. No. 75: Superseding

Indictment), as to Jarrett Terrell Edwards, without prejudice, following his guilty plea to an

Information filed in Case No. 3:16-cr-248.

          IT IS ORDERED that the Government’s motion, (Doc. No. 120), is GRANTED and the

charges, (Doc. No. 36: Indictment; Doc. No. 75: Superseding Indictment), in this case as to

Jarrett Terrell Edwards, are DISMISSED without prejudice.



                                              Signed: October 7, 2016




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